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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

 In re:                                       )
                                              )
 STEPHEN BRADLEY HALFERTY,                    )      Case No. 22-00101-05-DMW
                                              )      Chapter 13
          Debtor.                             )
                                              )
                                              )
 EVER-SEAL, INC.,                             )
                                              )
          Plaintiff,                          )      Adv. Proc. No. 22-00050-5-DMW
 v.                                           )
                                              )
 STEPHEN BRADLEY HALFERTY                     )      JURY DEMAND
 d/b/a DURASEAL,                              )
                                              )
          Defendant.                          )
                                              )

                       PLAINTIFF’S MOTION TO WITHDRAW REFERENCE

          NOW COMES Plaintiff Ever-Seal, Inc. (“Ever-Seal”), by and through counsel, pursuant

 to 28 U.S.C. § 157(d), Federal Rule of Bankruptcy Procedure 5011, and Federal Rule of Civil

 Procedure 38(b), made applicable to this proceeding by Federal Rule of Bankruptcy Procedure

 9015, and hereby moves for the entry of an Order from United States District Court for the Eastern

 District of North Carolina (the “District Court”) withdrawing the reference of the above-captioned

 Adversary Proceeding from the Bankruptcy Court to the District Court. In support of the Motion,

 Ever-Seal provides as follows:

          1.      On January 14, 2022, Defendant Stephen Bradley Halferty (“Defendant”) filed a

 voluntary petition for relief under Chapter 13 of the United States Bankruptcy Code. Defendant

 did not serve Ever-Seal with notice of Defendant’s bankruptcy case at that time.




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         2.       On February 8, 2022, Ever-Seal commenced an action (the “Tennessee Action”)

 against Defendant in the United States District Court for the Middle District of Tennessee, Case

 No. 3:22-cv-00082, seeking to enforce the terms of a Confidentiality Agreement between Ever-

 Seal and Defendant containing both a two-year non-competition clause and a confidentiality

 clause. Ever-Seal asserted claims of breach of contract, breach of fiduciary duty, and intentional

 interference with business relations, and sought immediate and permanent injunctive relief, as well

 as damages. Ever-Seal simultaneously filed a motion for a temporary restraining order (“TRO”)

 and preliminary injunction on its breach of contract and intentional interference claims. On

 February 11, 2022, the Middle District of Tennessee entered a TRO against Defendant and set a

 preliminary injunction hearing for February 24, 2022.

         3.       Ever-Seal was first notified of Defendant’s bankruptcy in the late afternoon on

 Friday, February 11, 2022, after the Middle District of Tennessee had issued the TRO, when

 Debtor’s bankruptcy counsel contacted Ever-Seal’s counsel. Ever-Seal promptly notified the

 Middle District of Tennessee of the bankruptcy case on Monday, February 14, 2022 by filing a

 suggestion of bankruptcy, and on February 15, 2022, that Court stayed the Tennessee Action

 pending further order of the Court.

         4.       On March 17, 2022, Ever-Seal commenced this adversary proceeding against

 Defendant, Case No. 22-00050-5-DMW, asserting post-petition claims against Defendant for

 breach of the Confidentiality Agreement and intentional interference with business relations (the

 “Contract Action”) [Doc. 1]. In its Complaint, Ever-Seal demanded a jury trial on all claims.

         5.       On May 2, 2022, Defendant filed his Answer and Counterclaim against Ever-Seal

 [Doc. 21]. Defendant’s counterclaim is a state-law contract claim. On May 23, 2022, Ever-Seal




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 filed an Answer to Defendant’s counterclaim, again demanding a jury trial on all claims, including

 Defendant’s counterclaim [Doc. 23].

         6.       All of the claims asserted in the Contract Action are non-core and solely involve

 state law causes of action arising under the laws of Tennessee. No claims relate to a pre-petition

 claim or any proof of claim in the underlying bankruptcy proceeding.

         7.       Congress granted original jurisdiction to the district courts over “all civil

 proceedings arising under title 11, or arising in or related to cases under title 11,” 28 U.S.C.

 § 1334(b), and authorized automatic referral of proceedings covered by § 1334(b) to the

 bankruptcy courts. See § 157(a). This District has provided for such referral.

         8.       However, pursuant to § 157(d) “[t]he district court may withdraw, in whole or in

 part, any case or proceeding referred under this section, on its own motion or on timely motion of

 any party, for cause shown.” § 157(d).

         9.       As shown more specifically in the brief accompanying this Motion, which is

 incorporated as is fully set forth herein, withdrawal of the reference of this adversary proceeding

 pursuant to 28 U.S.C. § 157(d) is warranted because: (1) the Bankruptcy Court does not have

 constitutional authority to adjudicate the non-core claims in the Contract Action; (2) Ever-Seal

 does not consent to the Bankruptcy Court entering final orders with respect to the non-core state

 law causes of action in this case, see 28 U.S.C. § 157(c)(1); (3) Ever-Seal demands a jury trial on

 both its claims and Defendant’s state law counterclaim, and the parties do not consent to a jury

 trial before the Bankruptcy Court, see 28 U.S.C. § 157(e); and (4) judicial efficiency is best served

 by having the District Court hear and determine all matters in the Contract Action.




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         WHEREFORE, Ever-Seal respectfully prays that the District Court enter an Order,

 substantially in the form attached hereto, pursuant to 28 U.S.C. § 157(d) and Rule 5011(a) of the

 Federal Rules of Bankruptcy Procedure, immediately withdrawing reference of the above-

 captioned adversary proceeding and for such other and further relief as the District Court may

 deem just and proper.

         Respectfully submitted this the 20th day of July, 2022.

                                              FOX ROTHSCHILD LLP

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                                         EXHIBIT A
                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

 In re:                                         )
                                                )
 STEPHEN BRADLEY HALFERTY,                      )       Case No. 22-00101-05-DMW
                                                )       Chapter 13
          Debtor.                               )
                                                )
                                                )
 EVER-SEAL, INC.,                               )
                                                )
          Plaintiff,                            )        Adv. Proc. No. 22-00050-5-DMW
 v.                                             )
                                                )
 STEPHEN BRADLEY HALFERTY                       )       JURY DEMAND
 d/b/a DURASEAL,                                )
                                                )
          Defendant.                            )
                                                )


      ORDER GRANTING PLAINTIFF’S MOTION TO WITHDRAW REFERENCE

          Upon consideration of Plaintiff’s Motion to Withdraw Reference (the “Motion”), pursuant

 to 28 U.S.C. § 157(d) and Rule 5011(a) of the Federal Rules of Bankruptcy Procedure, for entry

 of an Order withdrawing the reference of the above-captioned adversary proceeding pending in

 the United States Bankruptcy Court for the Eastern District of North Carolina; and this Court

 having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

 §§ 157 and 1334; and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

 1409; and this Court having reviewed the Motion; and this Court having determined that the legal

 and factual bases set forth in the Motion establish just cause for the relief granted therein; and after

 due deliberation and sufficient cause appearing therefor,

          IT HEREBY IS ORDERED THAT:

          1.      The Motion is granted to the extent set forth herein;




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           2.       The Contract Action is hereby withdrawn pursuant to 28 U.S.C. § 157(d);

           3.       The Bankruptcy Court is hereby stayed from further consideration of the Contract

 Action;

           4.       This Court shall retain jurisdiction to resolve any disputes arising from or related

 to this Order, and to interpret, implement and enforce the provisions of this Order.

           Dated:

                                                          _________________________
                                                          United States District Judge




                                                      2


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                                  CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing PLAINTIFF’S MOTION TO
 WITHDRAW REFERENCE was duly served upon the following by electronic means or by
 depositing same enclosed in a post-paid, properly addressed envelop in a Post Office or official
 depository under the exclusive care and custody of the United States Postal Service:

         Travis Sasser
         2000 Regency Parkway, Suite 230
         Cary, NC 27518
         Counsel for Defendant

         This the 20th day of July, 2022.

                                              _/s/ Brian R. Anderson_________________
                                              Brian R. Anderson




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